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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS

                                                                                                     ENTERED
                                                                                                     01/30/2020

IN RE:                                                                       CASE NO. 19−20194
Rachael Dube Garcia                                                          CHAPTER 13
      Debtor(s)

            ORDER TO DEPOSIT FUNDS INTO THE COURT REGISTRY


    The following motion is GRANTED:

46 − Application to Deposit Unclaimed Funds Filed by Trustee Cindy Boudloche (Attachments: # 1 Proposed
                                       Order) (Boudloche, Cindy)

    These unclaimed funds may be deposited into the Registry of the Court:

                         Amount: $ 1,561.88
                         Owed to: RACHAEL GARCIA


    Signed and Entered on Docket: 1/30/20.

                                                   by: Kristy Love
                                                       Deputy Clerk

   This Order is signed for the Court by the Clerk under authority of 28 U.S.C. § 956 and
General Order No. 2000−3.
